Case 4:20-cv-00122-JED-CDL Document 44 Filed in USDC ND/OK on 07/06/22 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OKLAHOMA

     (1) MARK RAYMOND, an Individual,

             Plaintiff,

     v.                                                       Case No. 20-cv-00122-JED-CDL

     (1) AMERICAN MERCURY INS. CO., a
         Foreign Corporation,

          Defendant.


                          NOTICE OF MATTER UNDER ADVISEMENT

          COMES NOW the Plaintiff, Mark Raymond, and hereby advises the Court Defendant’s

  Motion to Dismiss, Dkt. # 7, has all been pending over ninety (90) days and that the same is fully

  briefed and ripe for hearing and decision by the Court.

                                RELEVANT PROCEDURAL POSTURE

     1. Plaintiff filed the instant lawsuit claiming on March 25, 2020. See Complaint, Dkt. # 2.

     2. Defendant filed its Motion to Dismiss on April 28, 2020, and the same was fully briefed on

  June 4, 2020. See Motion, Dkt. # 7, Response, Dkt. # 11, Reply, Dkt. # 15, Corrected Reply, Dkt.

  # 18.

     3. After Defendant objected to participating in discovery while its Motion to Dismiss was

  pending, the Court stayed discovery pending determination of the same. Dkt. # 39.

     4. On November 3, 2021, the Court referred the Motion to Dismiss to Judge William Young

  for disposition. Dkt. # 41.

     5. On June 21, 2022, Plaintiff filed his Notice of Supplemental Authority advising the Court

  of the recent Oklahoma Supreme Court decision in Coates v. Progressive, 2022 OK 45. Dkt. # 43.




                                             Page 1 of 3
Case 4:20-cv-00122-JED-CDL Document 44 Filed in USDC ND/OK on 07/06/22 Page 2 of 3




          6. Plaintiff respectfully advises that if the Court believes a hearing would be helpful given

      the issues in this case, Plaintiff is willing and able to travel to Boston for the same.1

                                                            Respectfully submitted,


                                                             SMOLEN | LAW, PLLC

                                                             /s/Lawrence R. Murphy, Jr.
                                                             Donald E. Smolen, II, OBA #19944
                                                             Laura L. Hamilton, OBA # 22619
                                                             Lawrence R. Murphy, Jr. OBA #17681
                                                             611 S. Detroit Ave. Tulsa, OK 74120
                                                             P: (918) 777-4LAW (4529)
                                                             F: (918) 890-4529
                                                             don@smolen.law
                                                             laura@smolen.law
                                                             larry@smolen.law

                                                             Attorneys for Plaintiffs




  1
      Plaintiff’s counsel will make himself available on any of the following dates:

                                  https://www.mlb.com/redsox/tickets/single-game-tickets



                                                          Page 2 of 3
Case 4:20-cv-00122-JED-CDL Document 44 Filed in USDC ND/OK on 07/06/22 Page 3 of 3




                                   CERTIFICATE OF SERVICE

           I hereby certify that on this 6th day of July, 2022, I caused the foregoing to be submitted
   to the Clerk of Court using the ECF System for filing and for transmittal of a Notice of Electronic
   Filing to all counsel of record herein.

                                                 /s/Lawrence R. Murphy, Jr.




                                              Page 3 of 3
